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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ROANOKE DIVISION

 BYRON A. MOYER,                                )
                                                )
                   Plaintiff,                   )
                                                )      Case No. 7:20CV00546
                                                )
 v.                                             )             OPINION
                                                )
 ROBERT HOFFERT, ET AL.,                        )      By: James P. Jones
                                                )      United States District Judge
                  Defendants.                   )

      Byron A. Moyer, Pro Se Plaintiff.

      The plaintiff, Byron A. Moyer, a Virginia inmate proceeding pro se, filed this

civil rights action under 42 U.S.C. § 1983 in September 2020, alleging that he

received inadequate medical care while confined. Moyer notified the court on

October 5, 2020, that he had been released from jail. Therefore, Moyer is no longer

subject to the provisions of the Prisoner Litigation Reform Act that allowed him to

pay the $350 filing fee via installments withheld from his inmate trust account, as

he had previously consented to do. A court order entered on October 6, 2020,

directed Moyer to submit, within ten days from that date, the filing fee owed and the

applicable administrative fee, a total of $400, or to otherwise respond to the court.

Moyer was advised that a failure to comply within the time limits set out in the order

would result in dismissal of this action without prejudice.
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      The time allotted for Moyer to pay the filing costs or to otherwise respond has

passed, and he has failed to do so. Accordingly, I will dismiss the action without

prejudice.

      A separate Final Order will be entered herewith.

                                               DATED: October 20, 2020

                                               /s/ James P. Jones
                                               United States District Judge




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